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 2
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 4   toddleras@gmail.com
     Attorney for Defendant
 5
     ANN VANCE
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 8                               UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                       Case No.: 2:17-cr-0237 JAM
11
     UNITED STATES OF AMERICA,
12
                    Plaintiff,                         ORDER TO CONTINUE SENTENCING
13                                                     HEARING AND MODIFY PRE-SENTENCE
14   vs.                                               REPORT DEADLINES

15   ANN MARIE VANCE,
16                                                     Court:      Hon. John A. Mendez
                    Defendant.
17                                                     Date:       October 22, 2019
                                                       Time:       9:15 a.m.
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22
            The parties to this action, Plaintiff United States of America by and through Assistant
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24   U.S. Attorney Timothy Delgado and Attorney Todd D. Leras on behalf of Defendant Ann Vance,

25   submit this request to continue the date presently set for Judgment and Sentencing in the above-
26
     referenced matter from September 24, 2019 to October 22, 2019.
27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
               Case 2:17-cr-00237-JAM Document 84 Filed 09/04/19 Page 2 of 3


 1          Defense counsel requests the continuance because he needs additional time to prepare for
 2
     the sentencing hearing. The government does not object to the requested continuance and the
 3
     assigned probation officer has confirmed his availability on the requested date. Ms. Vance’s
 4
     probation interview and the draft Pre-Sentence Investigation Report have been prepared. There
 5

 6   is therefore a limited adjustment of the previously-set disclosure schedule as follows:

 7          1. Informal Objections to Draft Pre-Sentence Report: September 24, 2019;
 8
            2. Final Pre-Sentence Report Date: October 1, 2019;
 9
            3. Motion for Correction Date: October 8, 2019; and
10
            4. Reply Date: October 15, 2019.
11

12          This request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial

13   Act is not required. Assistant U.S. Attorney Timothy Delgado approved of the proposed date
14
     and authorized Todd D. Leras via email to sign this Stipulation on his behalf.
15
     DATED: August 31, 2019
16                                                By      /s/ Todd D. Leras for
                                                                 TIMOTHY H. DELGADO
17
                                                                 Assistant United States Attorney
18
     DATED: August 29, 2019                       By      /s/ Todd D. Leras
19                                                               TODD D. LERAS
                                                                 Attorney for Defendant
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                                                                 ANN VANCE
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
               Case 2:17-cr-00237-JAM Document 84 Filed 09/04/19 Page 3 of 3


 1                                             ORDER
 2
            The Judgment and Sentencing Hearing in this matter is continued to October 22, 2019, at
 3
     9:15 a.m. The Court adopts the modified Pre-Sentence Investigation Report deadline proposed
 4
     by the parties.
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 6          IT IS SO ORDERED.

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 8
     DATED: 9/4/2019
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                                         /s/ John A. Mendez___________________________
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                                         United States District Court Judge
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
